907 F.2d 1138Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony M. INGE, Plaintiff-Appellant,v.PATRICK HENRY CORRECTIONAL UNIT # 28;  B.C. Plageman;Pamela Craig;  Doctor Kastertsias;  R.J.Reynolds-Patrick Memorial Hospital;  B.Bowman, Defendants-Appellees.
    No. 89-7184.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 29, 1989.Decided June 8, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (C/A No. 89-21-R)
      Anthony M. Inge, appellant pro se.
      Eric Karl Gould Fiske, Office of the Attorney General of Virginia, Edward Meade Macon, McGuire, Woods, Battle &amp; Boothe, Richmond, Va., William W. Eskridge, Penn, Stuart, Eskridge &amp; Jones, Abingdon, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before CHAPMAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Anthony M. Inge appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Inge v. Patrick Henry Correctional Unit # 28, CA-89-21-R (W.D.Va. July 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    